Case 1:21-cr-00386-TNM Document 42 Filed 07/09/21 Page 1of1

DISTRICT OF COLUMBIA CIRCUIT

District of Columbia Circuit Leave to file GRANTED
UME CFADDEN 9 A
REV( :
Uaited States District Judge 4
UNITED STATES OF AMERICA
A Private Corporation
Vv. Case # 1:21-cr-00386-TNM-2
PAULINE BAUER .
VESSEL Defense Motion
Legal Fiction

MOTION TO DISMISS: ADDENDUM

Now this, I, Me, Pauline Bauer the Living Soul, A Creation of God,
A Woman, As One of We the People hereby Motion the Court to Drop
all Charges against my VESSEL - PAULINE BAUER and Dismiss the Case.

Inconsistencies with Due Process Protections Act and obligations not met
under the Brady Rule.

Brady v. Maryland, 373 U.S. 83 (1963)

not Ne {
Executed on this "Day of 7 ell

a)

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By: £ Ayers

 

 

; , uM (SEAL)
Three copies Emailed and sent / .
registered mail via the U.S.P.O. Pauline :Bauer, a Living Soul
Registered Mail # RF 445 416 463 US UCC 1 - 308
Notice:

USC 18 § 2076: CLERK IS TO FILE: “Whoever, being a clerk willfully retuses or neglects to make or forward any report, certificate,
statement, or document as required by law, shall be fined under this title or imprisoned not more than one year, or both",

USC 18 §2071: Whoever willfully and unlawfully conceals, removes, mutilates, obliterates, or destroys, or attempts to do so, documents
filed or deposited with any clerk or officer of any court, shall be fined or imprisoned not more than three years, or both.

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